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                                                                                 2019 Jul-30 PM 03:53
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA

UNITED WAY WORLDWIDE,                    )
                                         )
        Plaintiff,                       )
                                         )       CASE NO. _______________
        V.                               )
                                         )       JURY TRIAL DEMANDED
CATRENA NORRIS CARTER,                   )
                                         )
        Defendant.                       )

             COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

        United Way Worldwide (“United Way”), through its counsel, hereby files

this Complaint against Defendant Catrena Norris Carter (“Defendant”) for

injunctive relief and damages, as follows:

                                    THE PARTIES

        1.      Plaintiff United Way Worldwide, a not-for-profit corporation

organized under the laws of New York with its principal place of business at 701

N. Fairfax Street, Alexandria, Virginia 22314, is the service mark owner and

conducts business throughout the United States.

        2.      Defendant is believed to have addresses at 8601 4th Avenue S,

Birmingham, Alabama 35206-2802, and 2308a Tyler Road, Vestavia, Alabama

35226-2416.




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                                 JURISDICTION AND VENUE

        3.      This Court has original jurisdiction in this matter based on 28 U.S.C.

§ 1331 in that various of the claims in this case arise under the laws of the United

States. Specifically, this Court has subject matter jurisdiction pursuant to 15 U.S.C.

§§ 1114 and 1125 and 28 U.S.C. §§ 1331, 1332, and 1338.

        4.      This Court has personal jurisdiction over Defendant because, inter

alia, Defendant transacts business within and has availed herself of this forum;

engages in a persistent course of conduct in this forum; expects, or should

reasonably expect, its acts to have legal consequences in this forum; and maintains

substantial, systematic and continuous contacts in this forum.

        5.      Venue is proper in the United States District Court for the Northern

District of Alabama pursuant to 28 U.S.C. § 1391(b)(1) in that Defendant resides

in this District.


                                       BACKGROUND

                            United Way’s Activities and Service Mark

        6.      United Way is the leadership and support organization for the network

of nearly 1,800 community-based United Ways in more than 40 countries and

territories worldwide.

        7.      United Way fights for the health, education, and financial stability of

every person in every community. Supported by 2.8 million volunteers, 9.8 million

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donors worldwide, and $4.7 billion raised every year, United Way is the world’s

largest privately-funded nonprofit organization. United Way works to create

sustainable solutions to the challenges facing the world.

        8.      United Way’s partners include global, national and local businesses,

nonprofits, government, civic and faith-based organizations, along with educators,

labor leaders, health providers, senior citizens, and students.

        9.      United Way has used the mark WOMEN UNITED in connection with

its promotion of the interests of member organizations engaged in charitable fund

raising for health and human services agencies, and organizing and conducting

volunteer programs and community service projects in the United States of

America since at least as early as February 25, 2015.

        10.     United Way’s WOMEN UNITED services are organized by a

dynamic group of local women committed to helping their neighbors in need and

stabilizing families facing poverty. These women pledge financial gifts and take

action through volunteering, advocacy, networking, and educational events.

        11.     United Way owns United States Service Mark Registration No.

4866043 for WOMEN UNITED in International Class 35 for “association services,

namely, promoting the interests of member organizations engaged in charitable

fund raising for health and human services agencies; charitable services, namely,

organizing and conducting volunteer programs and community service projects”


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and International Class 36 for “eleemosynary services in the field of monetary

donations for human services organizations” (the “WOMEN UNITED mark”). A

true and correct copy of the certificate of registration for the service mark

registration for the WOMEN UNITED mark is attached as Exhibit “A”.

        12.     United Way has expended substantial time and effort to develop and

protect the value of the WOMEN UNITED mark.

        13.     The WOMEN UNITED mark is an inherently distinctive mark and is

widely recognized by the public as a source identifier for United Way’s services.

                       Defendant’s Activities and Unlawful Conduct

        14.     Defendant, without the authorization or consent of United Way, is

providing a website, available at <womenunitednow.org>, and social networking

pages on Facebook and Twitter, available at

<https://www.facebook.com/WomenUnitedNow/> and

<https://twitter.com/womenunited>, respectively, that promote public awareness of

activism and community organizing in connection with the marks WOMEN

UNITED and WOMEN UNITED NOW. See screenshots of Defendant’s website

and social networking pages attached as Exhibit “B”.

        15.     Defendant’s unlawful use of the marks WOMEN UNITED and

WOMEN UNITED NOW is likely to cause confusion in the minds of United




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Way’s actual and potential donors, recipients of funds, and prospective new

members of United Way’s WOMEN UNITED groups.

        16.     Given that the service marks are identical in whole or in part,

reasonable ordinary consumers will mistakenly believe that Defendant’s services

are sponsored, authorized, or approved by United Way.

        17.     Defendant’s unauthorized conduct constitutes federal trademark

infringement and false designation of origin, is likely to cause confusion to

consumers, and causes United Way to suffer irreparable injury for which it has no

adequate remedy at law.

                                        COUNT I

                   Federal Trademark Infringement, 15 U.S.C. § 1114

        18.     The allegations of paragraphs 1 through 17 are incorporated herein.

        19.     Defendant, with knowledge of United Way’s ownership of the

federally registered WOMEN UNITED mark, has used and continues to use the

marks WOMEN UNITED and WOMEN UNITED NOW in the offer of her own

services.

        20.     Defendant’s use in commerce of United Way’s valuable WOMEN

UNITED mark is likely to cause confusion, to cause mistake, and/or to deceive

consumers and others regarding the source of the services offered by Defendant.




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        21.     Defendant’s actions constitute infringement of United Way’s federally

registered WOMEN UNITED mark in violation of 15 U.S.C. § 1114.

        22.     As a result of Defendant’s conduct, United Way has suffered and

continues to suffer immediate, irreparable damage for which there is no adequate

remedy at law.

                                      COUNT II

                            Violation of 15 U.S.C. 1125(a);
                 False Designation of Origin and False Representation

        23.     The allegations of paragraphs 1 through 22 are incorporated herein.

        24.     Defendant, with knowledge of United Way’s exclusive rights in and

to the WOMEN UNITED mark, and intending to trade on the goodwill and

reputation of United Way in the marketplace, has adopted and used the marks

WOMEN UNITED and WOMEN UNITED NOW in the offer and sale of her

services.

        25.     Defendant’s use of the WOMEN UNITED and WOMEN UNITED

NOW marks constitutes a false designation of origin, a false or misleading

description of fact, and a false or misleading representation of fact that Defendant’s

services originate with, are sponsored by or approved by United Way, or that

Defendant and its services are affiliated with, connected to, or associated with

United Way.



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        26.     Defendant’s actions constitute a violation of section 43(a) of the

Lanham Act, 15 U.S.C. § 1125(a).

        27.     As a result of Defendant’s conduct, United Way has suffered, and

continues to suffer, immediate, irreparable damage for which there is no adequate

remedy at law.

                                       COUNT III

                            Common Law Trademark Infringement

        28.     The allegations of paragraphs 1 through 27 are incorporated herein.

        29.     United Way owns and enjoys in the State of Alabama and throughout

the United States common law trademark rights in the WOMEN UNITED mark.

        30.     On information and belief, Defendant’s acts have been committed

knowingly, in bad faith, and with the intent to cause confusion, mistake, and

deception among consumers.

        31.     Defendant’s acts constitute infringement of United Way’s common

law rights in the WOMEN UNITED mark.

        32.     As a result of Defendant’s conduct, United Way has suffered and

continues to suffer irreparable damage.

        33.     United Way has no adequate remedy at law and is therefore entitled to

preliminary and permanent injunctive relief.




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        34.      Defendant’s actions are unlawful and have damaged United Way in an

amount not yet calculated.

                                        RELIEF SOUGHT

WHEREFORE, United Way demands that:

         A. Judgment be entered in favor of United Way and against Defendant as to

              each of the above Counts;

         B. Defendant pay damages incurred by United Way as a result of the

              unlawful acts perpetrated by Defendant;

         C. An accounting be ordered to determine the profits realized by Defendant

              due to the unauthorized use of the WOMEN UNITED and WOMEN

              UNITED NOW marks;

         D. Defendant pay three times such profits or damages, whichever is greater;

         E. Defendant, and any agents, servants, employees, representatives,

              successors, assigns, attorneys, licensees, and all persons in active concert

              or participation with Defendant, be enjoined from directly or indirectly:

                      i. using the WOMEN UNITED and WOMEN UNITED NOW

                            marks and using any confusingly similar designation, alone or

                            in combination with other words, as a trademark, service mark,

                            domain name, or trade name to identify, market, distribute,




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                            advertise, promote, to offer for sale or to provide any goods or

                            services;

                     ii. otherwise infringing the WOMEN UNITED mark;

                    iii. continuing acts of false designation of origin, or doing any acts

                            that may cause Defendant’s services to be mistaken for,

                            confused with, or passed off as United Way’s services;

                     iv. applying for or attempting to register with any governmental

                            entity, including but not limited to the United States Patent and

                            Trademark Office, any trademark or service mark consisting in

                            whole or in part of the WOMEN UNITED mark;

         F. Defendant be required to remove the WOMEN UNITED and WOMEN

           UNITED NOW marks and any confusingly similar name or mark from its

           website(s) including but not limited to <womenunitednow.org>, all social

           media hubs, HTML code, search engine query terms, and any other

           electronic communications hosts, links and devices;

         G. Defendant be ordered to transfer to United Way the

           <womenunitednow.org> domain name, the @womenunited Twitter

           handle, the @WomenUnitedNow Facebook short URL, and any other

           domain name and social networking handle or username containing the

           WOMEN UNITED mark and any confusingly similar designation;


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         H. Defendant be directed to file with this Court and to serve on United

           Way, within ten (10) days after issuance of an injunction, a report in

           writing, under oath, setting forth in detail the manner and form in which

           Defendant has complied with the injunction;

         I. Defendant be ordered to pay attorney’s fees and costs of this action

            reasonably incurred by United Way in connection with Defendant’s

            willful acts of trademark infringement and false designation of origin;

            and

         J. Such other and further relief as this Court deems just and proper.


                            DEMAND FOR JURY TRIAL

      United Way hereby demands a trial by jury on all claims that may be tried
 before a jury.
                                         Respectfully submitted,

                                         s/Robert R. Baugh____________________
                                         Robert R. Baugh, Esq.
                                         Attorney for Plaintiff, United Way Worldwide

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